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                     IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 RALEIGH DIVISION
  IN RE:

   RODNEY ALLEN MCCOWAN                                            09-10347-8-SWH
                                                                      Chapter 7



                  RESPONSE TO MOTION TO REOPEN CHAPTER 7 CASE
                       AND STAY STATE COURT PROCEEDINGS

         COMES NOWS Bank of America, N.A. by and through undersigned counsel, and

  hereby responds to the Debtor's Motion to Reopen Chapter 7 Case and Stay State Court

  Proceedings (the “Motion”) as follows:

         1. The allegations in the Motion are generally denied.

         2. The parties have agreed Bank of America shall be allowed until Friday, July 7, 2017

              to supplement its response, as the undersigned counsel will be out of the office all

              next week.

         3.   Bank of America, N.A. requests that this matter be set for hearing.


         This the 23rd day of June 2017.


                                           /s/ Jason K. Purser
                                           Jason K. Purser, Attorney for Creditor, Bar # 28031
                                           Shapiro & Ingle, LLP
                                           10130 Perimeter Pkwy, Suite 400
                                           Charlotte, NC 28216
                                           Phone: 704-333-8107 | Fax: 704-333-8156
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                     IN THE UNITED STATES BANKRUPTCY COURT
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  IN RE:

   RODNEY ALLEN MCCOWAN                                            09-10347-8-SWH
                                                                      Chapter 7



                                  CERTIFICATE OF SERVICE

          I hereby certify that I have this day served the foregoing and annexed pleading or paper
  upon:
                                 (Served via Electronic Notification)
                                       William F. Braziel, III
                                         William P Janvier
                                        Samantha Y. Moore
                                       The Janvier Law Firm
                                      1101 Haynes St., Ste. 102
                                         Raleigh, NC 27604

                                (Served via U Electronic Notification)
                                        Rebecca F. Redwine
                                     Hendren & Malone, PLLC
                                   4600 Marriott Drive, Suite 150
                                         Raleigh, NC 27612

                                 (Served via Electronic Notification)
                                       Gregory B. Crampton
                                     Nicholls & Crampton, P.A.
                                           PO Box 18237
                                         Raleigh, NC 27619

  by electronic mail, if applicable. Any party that can be served by electronic mail will receive no
  other form of notice.

          This the 23rd day of June 2017.

                                            /s/ Jason K. Purser
                                            Jason K. Purser, Attorney for Creditor, Bar # 28031
                                            Shapiro & Ingle, LLP
                                            10130 Perimeter Pkwy, Suite 400
                                            Charlotte, NC 28216
                                            Phone: 704-333-8107 | Fax: 704-333-8156
                                            jpurser@logs.com
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